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 8
 9                        UNITED STATES DISTRICT COURT
10
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                 (Eastern Division)
13
      HEREDIA BOXING MANAGEMENT, Case No.: 5:20-cv-02618-JWH-KKx
14
      INC.; & MOSES HEREDIA,
15
                  Plaintiffs,                AMENDED COMPLAINT
16    vs.
17
18    MTK GLOBAL SPORTS           DEMAND FOR JURY TRIAL
19    MANAGEMENT, LLC; GOLDEN BOY
      PROMOTIONS, INC.; VGC, LLP;
20    PAUL D. GIBSON; and DANIEL
21    KINAHAN,
22                Defendants.
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      AMENDED COMPLAINT - 1
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 1          Plaintiffs Heredia Boxing Management, Inc. (“HBM”), and Mr. Moses
 2    Heredia (“M. Heredia”) (collectively, “Plaintiffs”) bring this Complaint against the
 3    Defendants MTK Global Sports Management, LLC (“MTK”), Golden Boy
 4    Promotions, Inc. (“GBP”), VGC, LLP (“VGC”), Mr. Paul D. Gibson (“Mr.
 5    Gibson”), and Mr. Daniel Kinahan (“Mr. Kinahan”) (collectively, “Defendants”)
 6    and alleges, based on knowledge as to themselves and their own acts and on
 7    information and belief as to all other matters, as follows:
 8                                   NATURE OF THE CASE
 9          1.     This dispute arises from Defendant’s (1) violation of Racketeering
10    Influenced and Corrupt Organization (RICO) Act 18 U.S.C. § 1962(a) – Acquiring
11    an Interest in an Enterprise by Use of Income; (2) violation of RICO 18 U.S.C. §
12    1962(b) – Acquiring or Maintaining an Interest in or Control of an Enterprise; (3)
13    violation of RICO 18 U.S.C. § 1962(c) – Conducting the Affairs of an Enterprise;
14    (4) violation of RICO 18 U.S.C. § 1962(d) – Conspiracy to Conduct the Affairs of
15    an Enterprise; (5) tortious interference with boxer-manager contract between the
16    Plaintiffs and boxer, Mr. Joseph “JoJo” Diaz, Jr. (“Mr. Diaz”) (6) tortious
17    interference with promotion-manager contract between Plaintiffs and GBP, (7)
18    inducing breach of boxer-manager contract between the Plaintiffs and Mr. Diaz,
19    (8) intentional interference with prospective economic relations, and (9) tortious
20    interference with boxer-manager contract between the Plaintiffs and boxer, Mr.
21    Luis Feliciano (“Mr. Feliciano”).
22          2.     Mr. M. Heredia is a duly licensed boxing manager and owns HBM.
23          3.     HBM manages Mr. Joseph “JoJo” Diaz, Jr., pursuant to a boxer-
24    manager agreement dated February 23, 2017. Mr. Diaz is a professional south paw
25    boxer of Mexican decent and is the current IBF super featherweight title holder.
26          4.     Mr. Diaz established a relationship with the Mr. M. Heredia as an
27    amateur fighter prior to his qualification for the 2012 Summer Olympics which has
28    continued until present day.


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 1           5.    GBP holds the current promotional agreement for Mr. Diaz which was
 2    executed on March 22, 2017.
 3           6.    MTK, a Dubai, UAE, and British based company, holds itself out as
 4    the “biggest force in business of boxing” in its capacity as a boxing management
 5    and promotional company.
 6           7.    MTK was co-founded and is in part owned and controlled by Mr.
 7    Daniel Kinahan, a noted member of Ireland’s notorious Kinahan Cartel, also
 8    known as the Kinahan Organized Crime Group (“KOCG”) by law enforcement
 9    officials.
10           8.    During August, 2020, MTK signed a management contract with Mr.
11    Diaz unbeknownst to HBM. HBM became aware of the signing though social
12    media. More information concerning the nature of this agreement will be known
13    after a reasonable opportunity for further investigation or discovery.
14           9.    HBM filed an arbitration request with the California State Athletic
15    Commission with respect to Mr. Diaz’s breach of contract.
16           10.   MTK’s management contract with Mr. Diaz was entered into in
17    violation of California law, federal law, and in complete disregard for the
18    established and lawful management contract Mr. Diaz recognized by the State of
19    California with Mr. M. Heredia.
20           11.   All attempts to resolve this matter with MTK have been met with
21    hostility to include the recent meet and confer.
22           12.   VGC, LLC, a law firm, has purportedly been retained by Mr. Diaz.
23    VGC sued Mr. Ralph Heredia, deliberately excluding HBM and Mr. Moses
24    Heredia Docket # 5:20-cv-02332-JWH-KKx after HBM timely and properly
25    sought arbitration in accordance with the existing management agreement in
26    response to Mr. Diaz’s social media posting that informed the world and Mr.
27    Moses Heredia that Mr. Diaz had signed with MTK. This lawsuit appears to be
28    designed to avoid Mr. Diaz’s obligations under his contract. Most recently, VGC


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 1    has engaged in negotiations with GBP to secure Mr. Diaz’s required mandatory
 2    bout. This was done without consultation or the consent of HBM. More
 3    information concerning the nature of the interactions between VGC and GBP will
 4    be known after a reasonable opportunity for further investigation or discovery.
 5          13.    GBP has also colluded with VGC and MTK to facilitate agreements
 6    despite being placed on full notice that neither VGC, nor MTK have lawful
 7    authority to conduct and/or engage in the management of Mr. Diaz through either
 8    contract or proper licensure.
 9                                         PARTIES
10          14.    Plaintiff Heredia Boxing Management, Inc., is a California
11    corporation with its principal place of business at 2120 Foothill Blvd., Suite 107,
12    La Verne, CA 91750.
13          15.    Plaintiff Moses Heredia is an individual residing in San Bernardino
14    County, California.
15          16.    Defendant MTK Global Sports Management, LLC, is a Dubai, UAE
16    business entity with license number 785135 and having its registered office at PO
17    Box 454833, Al Barsha Post Office, Dubai, United Arab Emirates. MTK Global
18    Sports Management, LTD, is a wholly owned subsidiary of MTK Global Sports
19    Management, LLC operating out of the United Kingdom with its principal place of
20    business at 20-22 Wenlock Road, London, England, N1 7GU. MTK stands for
21    “Mack the Knife.” MTK recently changed its name to Global Promotion
22    Management LTD in the United Kingdom. However, MTK still is operating and
23    doing business as “MTK Global.” See https://mtkglobal.com/.
24          17.    Defendant Golden Boy Promotions, Inc., is a California corporation
25    with its principal place of business at 626 Wilshire Blvd, Suite 350, Los Angeles,
26    CA 90017.
27          18.    Defendant VGC, LLP is a New York limited liability partnership with
28    a principal place of business at 1515 7th St, No 106, Santa Monica, CA 90401-


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 1    2605. VGC, LLP also has a principal place of business at 396 Degraw Street, Suite
 2    1, Brooklyn, New York 11231. Mr. James L. Greeley is a principal at VGC, LLP
 3    and upon information and belief resides in Los Angeles County, California. Mr.
 4    Alexander R. Safyan is a litigation partner at VGC, LLP and upon information and
 5    belief resides in Los Angeles County, California. The other members of VGC,
 6    LLP, upon information and belief, are domiciled in either Napa County, California
 7    or Kings County, New York.
 8          19.    Defendant Paul D. Gibson is MTK’s Chief Strategy Officer and an
 9    individual residing in Alicante, Valencian Community, Spain.
10          20.    Defendant Daniel Kinahan is a co-founder and owner of MTK and an
11    individual residing in Dubai, UAE.
12          21.    Each and every Defendant was the agent, servant, employee, joint
13    venture, partner, subsidiary, and/or co-conspirator of each other Defendant, and in
14    performing or failing to perform the acts alleged herein each Defendant was acting
15    individually as well as through and in the foregoing alleged capacity within the
16    course and scope of such agency, employment, joint venture, partnership,
17    subsidiary, and/or conspiracy.
18                              JURISDICTION AND VENUE
19          22.     This Court has subject matter jurisdiction over this action pursuant to
20    18 U.S.C. § 1964(c) and 28 U.S.C. § 1331.
21          23.    Venue is proper in this judicial district pursuant to 18 U.S.C. § 1965
22    and 28 U.S.C. § 1391 because substantial part of the events or omissions giving
23    rise to the claim occurred in this district. Defendants MTK, Mr. Gibson, and Mr.
24    Kinahan do substantial business in this judicial district, has substantial minimum
25    contacts with this judicial district, and/or intentionally availed itself of the benefits
26    and protections of California law through the promotion, sale, marketing, and
27    provision of services in California; See 18 U.S.C. § 1965 (“Any civil action or
28    proceeding under this chapter against any person may be instituted in the district


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 1    court of the United States for any district in which such person resides, is found,
 2    has an agent, or transacts his affairs.”). Further, Venue is proper in this judicial
 3    district pursuant to 28 U.S.C. § 1391 because Defendants VGC, and GBP are
 4    subject to personal jurisdiction in this judicial district and reside in this district.
 5                                             FACTS
 6           24.    Under Federal law, the term boxing manager means a “person who
 7    receives compensation for service as an agent or representative of a boxer.” See 15
 8    U.S.C. § 6301. Under California law, the term boxing manager means, “any person
 9    who … undertakes … to represent in any way the interest of any professional
10    boxer … .” Cal. Bus. & Prof. Code § 18628. California law provides a limited
11    exception for attorneys “whose participation in these activities is restricted to
12    representing the legal interest of a professional boxer … as a client.” Id. If an
13    attorney goes beyond the representation of a legal interest then the attorney must
14    be licensed as a manager. Id. A manger must be properly licensed within the State
15    of California to execute his/her duties under the law. See Cal. Bus. & Prof. Code §
16    18642; 4 CCR § 216.
17           25.    Under Federal law, the term boxing promotor means “the person
18    primarily responsible for organizing, promoting, and producing a professional
19    boxing match.” 15 U.S.C. § 6301. Under California law, the term boxing promoter
20    means “a corporation, partnership, association, individual, or other organization
21    which conducts, holds, or gives a boxing or martial arts contest, match, or
22    exhibition.” Cal. Bus. & Prof. Code § 18622. Federal law creates a “firewall”
23    between managers and promoters in order to protect the boxer. 15 U.S.C. § 6308.
24    Like with a manager contract, promotors are required to have a license. Cal. Bus.
25    & Prof. Code § 18641; see also 4 CCR § 213. A licensed promotor may do
26    business with other licensed promotors. Cal. Bus. & Prof. Code § 18668.
27
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 1          26.       Violations of the Professional Boxing Safety Act of 1996 (PBSA), as
 2    amended by the Muhammad Ali Boxing Reform Act of 2000 (“Ali Act”) carry
 3    with it civil and criminal penalties. See generally 15 U.S.C. § 6309.
 4          27.       One of the primary public policy goals behind the statutory schema,
 5    inter alia, was to protect the rights and welfare of the individual corruption by
 6    creating public oversight and transparency regarding fight purses and fighter debt
 7    obligations in order to protect to guard against the corruption that had consumed
 8    boxing.
 9                                             HBM
10          28.       Mr. M. Heredia is a properly licensed manager in California. HBM is
11    properly incorporated in California. Mr. M. Heredia properly executed a boxer-
12    manager contract between Mr. Diaz and himself to perform the duties of manager
13    between February 23, 2017 and February 22, 2022. This contact was properly
14    executed in the presence of Mr. Larry Ervin, a representative of the California
15    State Athletic Commission (“Commission”), and later endorsed by Commission
16    after review.
17                             MTK, Mr. Kinahan, and Mr. Gibson
18          29.       MTK is a management and promotional company. MTK is part
19    owned and operated by Mr. Daniel Kinahan who is a member of criminal
20    organization known to law enforcement officials as the KOCG. More information
21    concerning the nature of Mr. Kinahan’s involvement in MTK will be known after a
22    reasonable opportunity for further investigation or discovery. MTK, Mr. Kinahan,
23    and, Mr. Gibson do not possess a proper license to perform either management or
24    promotional services in California. MTK, Mr. Kinahan, and, Mr. Gibson hold no
25    authority to perform management functions in the State of California.
26          30.       MTK is not licensed in California to be a boxing manager or a boxing
27    promoter. MTK also provides both manager services and promotion services,
28    which are prohibited under the Ali Act firewall provisions. See 15 U.S.C. § 6308.


      AMENDED COMPLAINT - 7
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 1                                           VGC
 2          31.    VGC is a law firm. No individual in VGC is licensed to perform
 3    boxing management functions in the State of California. See Cal. Bus. & Prof.
 4    Code § 18628; see generally 15 U.S.C. §§ 6301-6313. VGC’s actions went beyond
 5    “representing the legal interests” of Mr. Diaz and acted as his manager evidenced
 6    by emails between VGC and Mr. George Gallegos, and attorney that represents
 7    GBP. See Cal. Bus. & Prof. Code § 18628. For example, on November 11, 2020,
 8    VGC sent an email discussing the terms of a bout between Mr. Diaz and his
 9    mandatory Russian contender, among other things. In this email, VGC states, “I
10    would suggest a call between the business teams at MTK and Golden Boy to
11    discuss Mr. Diaz's future. Please let me know who the appropriate contact would
12    be at Golden Boy. Paul Gibson would take the call on behalf of MTK.” The email
13    and previous correspondence also claims that Mr. Ralph Heredia is the manager of
14    Mr. Diaz and fails to highlight that Mr. Moses Heredia is in fact the manager of
15    Mr. Diaz. VGC crossed the line between representing the legal interests of their
16    client and acting as a manager by undertaking the representation of a professional
17    boxer in procuring a “professional contest in which the boxer or fighter is to
18    participate as a contestant… .” See Cal. Bus. & Prof. Code § 18628. VGC did so
19    with full knowledge and disregard for Mr. Diaz’s contractual obligations and
20    without compliance with any of the laws or regulations that provide the authority
21    to do so and collectively remain subject to both criminal and civil consequences for
22    these alleged violations.
23                                            GBP
24          32.    GBP is a properly registered and licensed promotional company
25    operating within the State of California. GBP and Mr. M. Heredia and HBM have
26    done business with each other for nearly ten years. Notwithstanding their long
27    business relationship and GBP’s knowledge of MTK’s violations of the law, GBP
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 1    has negotiated with MTK as if MTK was the manager of Mr. Diaz in violation of
 2    the Ali Act for its own financial gain.
 3           33.   GBP has also begun contacting Luis Feliciano, managed by Plaintiffs
 4    notwithstanding being placed on notice of the ongoing interference. Plaintiffs
 5    previous told GBP not to circumvent their agreement and contact boxers managed
 6    by Plaintiffs directly. Mr. M. Heredia raised this concern with the CEO of GBP,
 7    Mr. Oscar De La Hoya, in August of 2019. However, on November 17, December
 8    1, December 11, and December 16 of 2020, Mr. Ernie Gabon continued to contact
 9    Mr. Feliciano and related a message from Mr. Roberto Diaz, “matchmaker” for
10    GBP.
11                                    Mr. Diaz and HBM
12           34.   Mr. M. Heredia has known Mr. Diaz since he was an amateur boxer.
13    After Mr. Diaz completed in the 2012 summer Olympic Games in London, he
14    became a professional boxer. The Mr. M. Heredia managed Mr. Diaz’s
15    professional boxing career from its very beginning in 2012 until this present day.
16    The current boxer manager agreement was signed on February 23, 2017 between
17    Mr. Diaz and Mr. M. Heredia and is valid through February 22, 2022. Mr. Diaz
18    and Mr. M. Heredia executed this contract in the presence of Mr. Larry Ervin an
19    authorized representative of the Commission. The contract also received approval
20    and acceptance from the Executive Officer Commission on February 24, 2017. Mr.
21    Diaz has fought nine bouts under this contract including a bout on January 30,
22    2020 wherein he won the IBF super featherweight title.
23           35.   Mr. M. Heredia has previously filed a request for arbitration with
24    respect to the boxer-manager contract between Plaintiffs and Mr. Diaz with the
25    Commission on or about August 20, 2020 in light of the interference precipitated
26    by Defendants. The arbitration was accepted by the Commission. The Commission
27    is currently scheduling the arbitration for sometime next year.
28           //


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 1                                       Interference
 2          36.   MTK presented Mr. Diaz with an offending management agreement
 3    that was signed in August of 2020. More information concerning the nature of this
 4    agreement will be known after a reasonable opportunity for further investigation or
 5    discovery. The agreement may be titled as a “marketing advisory agreement” or
 6    words to that effect. Based on investigation, one term of the agreement included a
 7    $100,000 advance on Mr. Diaz’s next bout. MTK or its agents engaged in direct
 8    negotiations with GBP in full disregard for Mr. Diaz’s contractual obligations and
 9    the federal and state laws governing the profession of boxing. MTK and GBP have
10    interfered to the point of scheduling a bout on or about February 13, 2021 between
11    Mr. Diaz and his mandatory contender without any input from or communication
12    with the Plaintiffs—Mr. Diaz’s boxing managers.
13          37.   VGC directed GBP to get in contact with MTK via email on
14    November 11, 2020. This email shows that VGC facilitated the interference
15    perpetuated by MTK.
16                               MTK and Organized Crime
17          38.   MTK runs an operation out of the Dubai Economic Zone, as discussed
18    below, and is overseen by Mr. Daniel Kinahan who also resides in Dubai, UAE.
19    More information concerning the nature of Mr. Kinahan’s involvement in MTK
20    will be known after a reasonable opportunity for further investigation or discovery.
21          39.   MTK was co-founded by Mr. Daniel Kinahan. Mr. Daniel Kinahan is
22    known as the head of Kinahan Organized Crime Group (“KOCG”) in Ireland. The
23    KOCG is allegedly responsible for several murders, drug trafficking, and money
24    laundering. The KOCG is one of Europe’s biggest drug cartels. Law enforcement
25    experts believe that Mr. Daniel Kinahan started MTK to launder ill-gotten gains
26    from drug trafficking. More information concerning the nature of Mr. Kinahan’s
27    involvement in MTK and money laundering will be known after a reasonable
28    opportunity for further investigation or discovery. Mr. Daniel Kinahan is wanted


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 1    for questioning by several law enforcement agencies due to the murderous
 2    activities of the KOCG. On or about September 16, 2018, the United States
 3    Customs and Border Protection (CBP) banned Mr. Kinahan and roughly 26 other
 4    members of the KOCG from entering America due to narco-terrorism concerns.
 5    See e.g. https://www.thetimes.co.uk/article/america-bans-the-kinahan-crime-
 6    family-r7bbbntll; https://www.thesun.ie/news/5456085/cartel-boss-daniel-kinahan-
 7    banned-us-placed-on-list-narco-terrorists/.
 8          40.    In 2016, Mr. Kinahan fled Ireland to Dubai, UAE after a boxing
 9    match he promoted ended in violence at the Regency Hotel in Dublin, Ireland.
10    During that boxing match, several masked gunmen fired AK-47s into the crowd,
11    killed one person, and injured several more. This shooting is alleged to be a plot to
12    kill Mr. Kinahan by a rival crime family. See e.g. https://www.ringtv.com/603461-
13    buzz-and-scrutiny-build-regarding-mtk-global-and-daniel-kinahan/.
14          41.    Mr. Daniel Kinahan is currently living in Dubai, UAE where he
15    continues to arrange boxing matches and act in a management capacity to MTK.
16    See e.g. https://www.insider.com/tyson-fury-splits-from-reputed-drugs-boss-
17    daniel-kinahan-2020-6; https://www.sportscasting.com/what-we-know-about-
18    tyson-furys-advisor-daniel-kinahan-a-suspected-1-1-billion-drug-lord/. More
19    information concerning the nature of Mr. Kinahan’s involvement in MTK will be
20    known after a reasonable opportunity for further investigation or discovery.
21          42.    MTK is interfering with HBM’s promotion contract with GBP. GBP
22    is a boxing promoter. In this role, they help arrange bouts between fighters. MTK
23    is attempting to step in as Mr. Diaz’s boxing manager. VGC facilitated this by
24    directed GBP to negotiate with MTK.
25          43.    MTK is flooding the U.S. marketplace with illegal funds, not
26    respecting US law through their interference with contract, violating the Ali Act
27    firewall provisions, and not obtaining the required licensure. More information
28    concerning the nature of Mr. Kinahan’s involvement in MTK will be known after a


      AMENDED COMPLAINT - 11
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 1     reasonable opportunity for further investigation or discovery. MTK has in the past
 2     few months signed over eight US boxers and several dozens across the globe.
 3     MTK states it is a global management and promotion company but are having
 4     boxers sign management agreements using the title “advisory” in an unguarded
 5     attempt to avoid legal scrutiny without basis in statutory law. However, in reality,
 6     MTK’s agreements are management or promotion agreements based on the
 7     applicable definitions and MTK’s conduct.
 8           44.    MTK interfered by providing a financial inducement to Mr. Diaz.
 9     Upon information and belief, MTK provided a $100,000 advance on Mr. Diaz’s
10     next purse. More information concerning the nature of this agreement will be
11     known after a reasonable opportunity for further investigation or discovery. This
12     advance essentially caused Mr. Diaz to mortgage his future away, which is why the
13     Federal Government and the State of California created statutes and regulations to
14     protect boxers. George Foreman Associates, Ltd. v. Foreman, 389 F.Supp 1308,
15     1314 (1974) (“The statutes and regulations indicate a clear purpose to safeguard
16     boxers against the temptation to mortgage their futures in exchange for relatively
17     meager present consideration.”).
18           45.    GBP has disregarded its contractual obligations with respect to the
19     2017 promotional agreement with respect to Plaintiffs. Further, GBP has contacted
20     at least one other boxer managed by HBM, Luis Feliciano, on multiple occasions
21     as recently as December 16, 2020 in violation and disregard of other agreements.
22     This interference is a byproduct of MTK’s trampling on Plaintiffs rights.
23           46.    MTK interfered with the boxing management contract between Mr.
24     Diaz and Plaintiffs and the boxing promotional contract between Mr. Diaz,
25     Plaintiffs, and GBP. Further, MTK caused Mr. Diaz to breach his contracts with
26     the Plaintiffs and his contract with GBP.
27           //
28           //


       AMENDED COMPLAINT - 12
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 1             FACTUAL ALLEGATIONS COMMON TO ALL RICO COUNTS
 2             47.   The Racketeering Influenced and Corrupt Organizations (RICO) Act
 3     allows for a wronged plaintiff to sue in civil court for damages. See 18 U.S.C. §
 4     1964.
 5             48.   At all relevant times MTK received or obtained money, either directly
 6     or indirectly from a pattern of racketeering activity. More information concerning
 7     the nature of Mr. Kinahan’s involvement in MTK will be known after a reasonable
 8     opportunity for further investigation or discovery. MTK is associated with Mr.
 9     Daniel Kinahan and the Kinahan Organized Crime Group (“KOCG”). The KOCG
10     is an association-in-fact that operates one of Europe’s largest drug trafficking and
11     money laundering networks according to several law enforcement agencies. Mr.
12     Kinahan co-founded MTK with Matthew “Mack The Knife” Macklin. Mr.
13     Kinahan co-founded MTK in an attempt to launder illicit proceeds from drug
14     trafficking through a seemingly lawful business. More information concerning the
15     nature of Mr. Kinahan’s involvement in MTK and money laundering will be
16     known after a reasonable opportunity for further investigation or discovery.
17     However, this attempt failed in 2016 when during a boxing match promoted by Mr.
18     Kinahan ended in violence as a rival crime family, believed to be the Hutch
19     Family, began shooting the crowd. In the aftermath of that shooting and feeling the
20     pressure from several law enforcement agencies, Mr. Kinahan fled from Ireland to
21     Dubai, UAE and continued to operate MTK by creating the Dubai, UAE wing of
22     MTK. In 2017, MTK made attempts on paper to sever the ties between MTK and
23     Mr. Kinahan. However, recent reports—as recent as November 2020—still
24     indicate that Mr. Kinahan is running MTK from Dubai, UAE. See e.g.
25     https://www.belfasttelegraph.co.uk/news/northern-ireland/barry-mcguigan-in-
26     warning-to-boxing-over-kinahan-grip-after-frampton-case-39750316.html. More
27     information concerning the nature of Mr. Kinahan’s involvement in MTK will be
28     known after a reasonable opportunity for further investigation or discovery.


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 1           49.    “Racketeering activity” is an act that violates certain statutes
 2     enumerated in 18 U.S.C. § 1961. “Racketeering activity” is also called a “predicate
 3     act.” See Living Designs, Inc. v. E.I. Dupont de Nemours & Co., 431 F.3d 353, 361
 4     (9th Cir. 2005). Drug trafficking and money laundering are both listed in 18 U.S.C.
 5     § 1961. Here, MTK received or obtained money, either directly or indirectly, from
 6     drug trafficking and money laundering through its association with Mr. Kinahan.
 7     More information concerning the nature of Mr. Kinahan’s involvement in MTK
 8     will be known after a reasonable opportunity for further investigation or discovery.
 9     Mr. Kinahan continues to arrange boxing matches that involve MTK fighters.
10     These matches are steeped in money obtained from drug trafficking and money
11     laundering. MTK then uses this money to attempt to bring in more fighters and
12     arrange more fights so that more drug trafficking proceeds can be laundered
13     through what appears to be a legitimate business. MTK’s thirst for new boxers
14     supports the KOCG’s money laundering needs has brought MTK to the US market
15     and to the interference with Mr. Diaz and HBM. More information concerning the
16     nature of Mr. Kinahan’s involvement in MTK will be known after a reasonable
17     opportunity for further investigation or discovery.
18           50.    A “pattern of racketeering activity” means that a defendant, such as
19     MTK, committed at least two distinct predicate acts. “Distinct” does not have to
20     mean different types. A pattern of racketeering activity must include related
21     predicate acts. Predicate acts are “related” to one another if they have the same or
22     similar purposes, results, participants, victims, or methods. Here, MTK has
23     approached several US fighters and offered similar “marketing advisor”
24     arrangements. More information concerning the nature of MTK’s entry into the
25     U.S. boxing market will be known after a reasonable opportunity for further
26     investigation or discovery. MTK sometimes does this with the knowledge and
27     consent of the fighters boxing manager. On other occasions, such as this current
28     dispute, it is a hostile attempt to peel a boxer or sport fighter away from his or her


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 1     managers. MTK holds Mr. Diaz out on its website as one of its boxers and has
 2     publically tweeted about an upcoming mandatory-title defense bout. This bout was
 3     apparently arranged between VGC and GBP, both of whom have not included Mr.
 4     Diaz’s manager, Mr. M. Heredia and HBM in the conversation.
 5           51.    A pattern of racketeering activity also requires predicate acts showing
 6     “continuity.” Continuity can be demonstrated in two ways. The first is “close-
 7     ended” continuity where the related predicate acts extend over a substantial period
 8     of time. The second is “open-ended” continuity where the related predicate acts do
 9     not occur over a substantial period of time but are likely to be repeated in the
10     future. Here, MTK continues to involve itself in drug trafficking and money
11     laundering through its associate with Mr. Kinahan. These acts are likely to be
12     repeated in the future. MTK advertises on its website that it is one of the biggest
13     forces in boxing and is encouraging children as young as 15 to sign up with them
14     to get more and more boxers in their grasps to continue the money laundering
15     operation. This also includes a drive to become a dominant player in the United
16     States as MTK continues its expansion into the United States. More information
17     concerning the nature of MTK’s entry into the U.S. boxing market will be known
18     after a reasonable opportunity for further investigation or discovery.
19           52.    MTK has participated as a principal in the pattern of racketeering
20     activity. MTK either committed or aided, abetted, counseled, commanded,
21     induced, or procured the commission of several predicate acts that form a pattern
22     of racketeering activity. More information concerning the nature of Mr. Kinahan’s
23     involvement in MTK will be known after a reasonable opportunity for further
24     investigation or discovery. MTK also willfully caused the commission of two or
25     more alleged predicate acts that make up the pattern of racketeering activity. MTK
26     committed these predicate acts with intent or knowledge. MTK knows that Mr.
27     Kinahan is involved in drug trafficking and money laundering and yet MTK still
28     associates with Mr. Kinahan and does business regularly with Mr. Kinahan.


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 1     Further, MTK itself is engaged in predicate acts when it proved these illicit funds
 2     to Mr. Diaz.
 3           53.      MTK uses the income or proceeds derived from the racketeering
 4     activity to acquire, maintain, or operate an enterprise. An “enterprise” may consist
 5     of an individual, partnership, corporation, association, or other legal entity. Here,
 6     MTK has attempted to acquire an interest in Mr. Joseph Diaz, as a professional
 7     boxer. MTK provided Mr. Diaz $100,000 in an attempt to fraudulently induce him
 8     without proper licensure, contractual, or lawful authority. These funds are directly
 9     or indirectly derived from racketeering activity as described above. MTK receives
10     funds directly or indirectly from Mr. Kinahan which are derived from racketeering
11     activity such as drug trafficking and money laundering. MTK itself is laundering
12     the illicit proceeds of the KOCG drug trafficking enterprise. More information
13     concerning the nature of Mr. Kinahan’s involvement in MTK and money
14     laundering will be known after a reasonable opportunity for further investigation or
15     discovery.
16           54.      MTK is engaged in interstate and foreign commence. They are a
17     foreign business entity operating in the United States, namely California. MTK is
18     using and abusing US law in an attempt to gain a foothold in a lucrative market to
19     continue their money laundering operation. More information concerning the
20     nature of Mr. Kinahan’s involvement in MTK and money laundering will be
21     known after a reasonable opportunity for further investigation or discovery.
22           55.      The acts of MTK have caused damage to Plaintiffs. MTK used
23     racketeering income to injure Plaintiffs. To establish standing for a civil RICO
24     claim, four factors must be satisfied: the Plaintiff must be (1) a “person” (2) who
25     sustains injury (3) to his or her “business or property” (4) “by reason of”
26     defendant’s violation of 18 U.S.C. § 1962. Standing depends on injury from the
27     “conduct constituting the violation,” and each section of RICO has a different
28     injury requirement. Injury under § 1962(a) must stem from the investment of


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 1     racketeering income; injury under § 1962(b) must stem from the acquisition of an
 2     interest on or control over an enterprise; injury under § 1962(c) must stem from the
 3     predicate acts; and injury under § 1962(d) generally stems from the overt acts
 4     committed in furtherance of the conspiracy. Plaintiffs have standing under all four
 5     sections of RICO as they are considered a “person” who has sustained an injury to
 6     his business by reason of the injuries described below.
 7                                   CAUSES OF ACTION
 8                               FIRST CAUSE OF ACTION
 9       RICO § 1962(a) – Acquiring an Interest in an Enterprise by Use of Income
10                       (Against MTK, Mr. Kinahan, and Mr. Gibson)
11           56.    Plaintiffs incorporate by reference and realleges each and every
12     allegation contained in the paragraphs above as though fully set forth herein.
13           57.    MTK is an enterprise engaged in and whose activities affect interstate
14     commerce. MTK is an international boxing management and promotion company
15     and also engage in marketing boxing and other fighting sport events through
16     television and the internet. MTK is operating in several markets to include this
17     judicial district. MTK is associated with Mr. Kinahan and Mr. Gibson is MTK’s
18     chief strategy officer. More information concerning the nature of Mr. Kinahan’s
19     involvement in MTK will be known after a reasonable opportunity for further
20     investigation or discovery.
21           58.    MTK derived income, directly or indirectly, from a pattern of
22     racketeering activity. Namely, through MTK’s association with Mr. Kinahan and
23     the KOCG, MTK has accepted income from drug trafficking and money
24     laundering. Any investment by or through Mr. Kinahan necessarily is income
25     derived, directly or indirectly, from drug trafficking and money laundering. More
26     information concerning the nature of Mr. Kinahan’s involvement in MTK and
27     money laundering will be known after a reasonable opportunity for further
28     investigation or discovery. Upon information and belief, these acts have occurred


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 1     more than once, are related to one another, and are continuous under both the
 2     closed-end continuity theory and the open-ended continuity theory as the
 3     relationship between MTK and the KOCG has been established over time and is
 4     likely to be repeated into the future.
 5           59.    MTK used and invested income that was derived from a pattern of
 6     racketeering activity in an interstate enterprise. Specifically, MTK was co-founded
 7     my Mr. Daniel Kinahan who is the reported leader of the KOCG in Ireland. The
 8     KOCG is known by several governments, including the United States Government
 9     of engaging in narco-terrorism, drug trafficking, and money laundering. MTK
10     states that it has severed ties with Mr. Kinahan. However, while official ties on
11     paper may have been severed, Mr. Kinahan is still influencing and controlling
12     MTK. As recently as November 16, 2020 it is reported that MTK is still associated
13     with Mr. Daniel Kinahan. MTK received income from Mr. Daniel Kinahan and the
14     KOCG that was derived from a pattern of racketeering activity in an interstate
15     enterprise. More information concerning the nature of Mr. Kinahan’s involvement
16     in MTK and money laundering will be known after a reasonable opportunity for
17     further investigation or discovery. MTK then used this income derived from a
18     pattern of racketeering activity to acquire an interest in Mr. Joseph “JoJo” Diaz, Jr,
19     an individual. Enterprises may consist of individuals.
20           60.    The racketeering activity listed above constitutes a pattern of
21     racketeering activity pursuant to 18 U.S.C. § 1961(5).
22           61.    MTK participated as a principle in the pattern of racketeering activity.
23     With knowledge of the KOCG and Mr. Kinahan’s drug trafficking and money
24     laundering, MTK conspired with or aided and abetted the KOCG and Mr. Kinahan
25     to allow MTK to be used a front for money laundering. More information
26     concerning the nature of Mr. Kinahan’s involvement in MTK and money
27     laundering will be known after a reasonable opportunity for further investigation or
28     discovery. MTK received income from the predicate acts, directly or indirectly,


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 1     and then invested that income in the acquisition of an interest in Mr. Joseph Diaz,
 2     Jr, an enterprise, which is engaged in interstate and international commerce.
 3           62.    As direct and proximate result of the MTK’s racketeering activities
 4     and violations of 18 U.S.C. § 1962(a), Plaintiffs have been injured in their business
 5     and property in that: Plaintiffs have an exclusive management boxer-manager
 6     contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
 7     causing harm to the business relationship between Plaintiffs and Mr. Diaz and has
 8     caused Mr. Diaz to stop communicating with Plaintiffs resulting in several
 9     previously contracted for services in the management of Mr. Diaz to spoil. Further,
10     the interference has caused harm to Plaintiff’s business reputation and goodwill
11     and interference with prospective commercial relations. Mexican American boxers
12     also have the highest draw in the boxing sport. Loss of world champion affects
13     their standing in the boxing management community and amongst boxing
14     promotors.
15           63. WHEREFORE, Plaintiff requests that this Court enter judgment against
16     the MTK as follows: actual damages, treble damages, reasonable attorney’s fees,
17     and the costs of bringing the suit.
18                              SECOND CAUSE OF ACTION
19      RICO § 1962(b) – Acquiring or Maintaining an Interest in or Control of an
20                                           Enterprise
21                        (Against MTK, Mr. Kinahan, and Mr. Gibson)
22           64.    Plaintiffs incorporate by reference and realleges each and every
23     allegation contained in the paragraphs above as though fully set forth herein.
24           65.    MTK is an enterprise engaged in and whose activities affect interstate
25     commerce.
26           66.    MTK acquired and maintained interests in and control of the
27     enterprise through a pattern of racketeering activity. Specifically, on or about,
28     August 12, 2020, MTK provided Mr. Joseph Diaz, Jr. with an advance of $100,000


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 1     in exchange signing for a “marketing advisory” agreement in violation of the
 2     current boxer-manager contract signed between Mr. Diaz and Plaintiffs. Mr. Diaz
 3     is an individual and individuals are considered “enterprises.” The advance MTK
 4     provided Mr. Diaz was derived, directly or indirectly from the predicate acts of
 5     drug trafficking and money laundering as described above. MTK is associated with
 6     and conspires with Mr. Kinahan and the KOCG which is one of Europe’s largest
 7     drug trafficking cartels. More information concerning the nature of Mr. Kinahan’s
 8     involvement in MTK and money laundering will be known after a reasonable
 9     opportunity for further investigation or discovery. MTK continues to maintain this
10     interest in Mr. Diaz and recently tweeted about an upcoming mandatory title bout
11     between Mr. Diaz and Shavratdzhon Rakhimov. A bout that was recently
12     scheduled without input from or communication with Plaintiffs. Further, MTK
13     holds out on its website that Mr. Diaz is one of “their” boxers.
14           67.    The racketeering activity listed above constitutes a pattern of
15     racketeering activity pursuant to 18 U.S.C. § 1961(5).
16           68.    MTK has directly and indirectly acquired and maintained interests in
17     and control of the enterprise through the pattern of racketeering activity described
18     above, in violation of 18 U.S.C. § 1962(b).
19           69.    As direct and proximate result of the MTK’s racketeering activities
20     and violations of 18 U.S.C. § 1962(b), Plaintiffs have been injured in their business
21     and property in that: Plaintiffs have an exclusive management boxer-manager
22     contract with Mr. Diaz. The income MTK is investing into Mr. Diaz is directly
23     causing harm to the business relationship between Plaintiffs and Mr. Diaz and has
24     caused Mr. Diaz to stop communicating with Plaintiffs resulting in several
25     previously contracted for services in the management of Mr. Diaz to spoil. Further,
26     the interference has caused harm to Plaintiff’s business reputation and goodwill
27     and interference with prospective commercial relations. Mexican American boxers
28     also have the highest draw in the boxing sport. Loss of world champion affects


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 1     their standing in the boxing management community and amongst boxing
 2     promotors.
 3           70.    WHEREFORE, Plaintiff requests that this Court enter judgment
 4     against MTK as follows: actual damages, treble damages, reasonable attorney’s
 5     fees, and the costs of bringing the suit.
 6                                THIRD CAUSE OF ACTION
 7                  RICO § 1962(c) – Conduct the Affairs of the Enterprise
 8                        (Against MTK, Mr. Kinahan, and Mr. Gibson)
 9           71.    Plaintiffs incorporate by reference and realleges each and every
10     allegation contained in the paragraphs above as though fully set forth herein.
11           72.    MTK is an enterprise engaged in and whose activities affect interstate
12     commerce.
13           73.    The Kinahan Organized Crime Group (KOCG) is an association-in-
14     fact. See Boyle v. United States, 556 U.S. 938, 945-46 (2009) (quoting United
15     States v. Turkette, 452 U.S. 576, 580 (1981)). The KOCG is an enterprise engaged
16     in and whose activities affect interstate commerce.
17           74.    The purported leader of the KOCG, Mr. Daniel Kinahan, co-founded
18     MTK as a front business to launder illicit proceeds from drug trafficking. MTK
19     and the KOCG have also formed an association-in-fact to further this scheme. The
20     more boxers under MTK allows the KOCG to launder more money from drug
21     trafficking. More information concerning the nature of Mr. Kinahan’s involvement
22     in MTK and money laundering will be known after a reasonable opportunity for
23     further investigation or discovery.
24           75.    MTK is associated with or employed by the MTK/KOCG association-
25     in-fact enterprise. MTK is associated with the KOCG as described above due to its
26     relationship with Mr. Daniel Kinahan. More information concerning the nature of
27     Mr. Kinahan’s involvement in MTK and money laundering will be known after a
28     reasonable opportunity for further investigation or discovery.


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 1            76.   MTK agreed to and did conduct and participate in the conduct of the
 2     MTK/KOCG association-in-fact enterprise’s affairs through a pattern of
 3     racketeering activity and for the unlawful purpose of intentionally and tortuously
 4     interfering with Plaintiffs boxer-manager contract. Specifically, MTK through its
 5     association with the KOCG has been using income derived, directly or indirectly,
 6     from KOCGs racketeering activities which include drug trafficking and money
 7     laundering. MTK used this income derived from the KOCG to provide Mr. Diaz an
 8     advance of $100,000 on his next bout. MTK did so to invest in or acquire an
 9     interest in Mr. Diaz as a professional boxer as described above. MTK also benefits
10     from these transactions as MTK receives additional money. State another way,
11     MTK is allowed to re-invest the profits of the MTK/KOCG association-in-fact
12     enterprise to continue to grow and expand. In doing so, MTK is becoming a large
13     player in the boxing industry and destroying smaller family run operations like
14     HBM.
15            77.   MTK knows that the KOCG is involved in drug trafficking and
16     money laundering.
17            78.   Pursuant to and in furtherance of their scheme, the MTK/KOCG
18     association-in-fact committed multiple related acts of drug trafficking and money
19     laundering. More information concerning the nature of Mr. Kinahan’s involvement
20     in MTK and money laundering will be known after a reasonable opportunity for
21     further investigation or discovery.
22            79.   The acts of drug trafficking and money laundering set forth above
23     constitute a pattern of racketeering activity pursuant to 18 U.S.C. § 1961(5).
24            80.   MTK has directly and indirectly conducted and participated in the
25     conduct of the MTK/KOCG association-in-fact enterprise’s affairs through the
26     pattern of racketeering and activity described above, in violation of 18 U.S.C. §
27     1962(c).
28


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 1           “In order to ‘participate, directly or indirectly, in the conduct of such
 2           enterprise's affairs,’ one must have some part in directing those
 3           affairs. Of course, the word ‘participate’ makes clear that RICO
 4           liability is not limited to those with primary responsibility for the
 5           enterprise's affairs, just as the phrase ‘directly or indirectly’ makes
 6           clear that RICO liability is not limited to those with a formal position
 7           in the enterprise, but some part in directing the enterprise's affairs is
 8           required.”
 9     Reves v. Ernst & Young, 507 U.S. 170, 179 (1993); See also Williams v. Mohawk
10     Indus., Inc., 465 F.3d 1277, 1281 (11th Cir. 2006) (“… a RICO defendant must
11     ‘conduct’ or ‘participate in’ the affairs of some larger enterprise and not just its
12     own affairs.”). More information concerning the nature of Mr. Kinahan’s
13     involvement in MTK and money laundering will be known after a reasonable
14     opportunity for further investigation or discovery.
15           81.    As a direct and proximate result of the MTK, Mr. Kinahan, and Mr.
16     Gibson’s racketeering activities and violations of 18 U.S.C. § 1962(c), Plaintiffs
17     have been injured in their business and property in that: Plaintiffs have an
18     exclusive management boxer-manager contract with Mr. Diaz. The conduct of the
19     MTK/KOCG association-in-fact enterprise directly interferes with this contractual
20     relationship. This inferenced has caused harm to the business relationship between
21     Plaintiffs and Mr. Diaz, interfered with other boxing contracts, and has caused Mr.
22     Diaz to stop communicating with Plaintiffs resulting in several previously
23     contracted for services in the management of Mr. Diaz to spoil. Further, the
24     interference has caused harm to Plaintiff’s business reputation and goodwill and
25     interference with prospective commercial relations. Boxers of Mexican ethnicity
26     are currently the highest draw in the profession of boxing and a loss of a world
27     champion Mexican boxer has wide ranging adverse impacts on the recruiting and
28     retention efforts of HBM and their ability to negotiate with promotional companies


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 1     which is further demonstrated by GBP’s willingness to ignore its contractual
 2     standing despite several years of a professional relationship.
 3           82.    WHEREFORE, Plaintiff requests that this Court enter judgment
 4     against MTK as follows: actual damages, treble damages, reasonable attorney’s
 5     fees, and the costs of bringing the suit.
 6                               FOURTH CAUSE OF ACTION
 7         RICO § 1962(d) – Conspiracy to Conduct the Affairs of the Enterprise
 8                        (Against MTK, Mr. Kinahan, and Mr. Gibson)
 9           83.    Plaintiffs incorporate by reference and realleges each and every
10     allegation contained in the paragraphs above as though fully set forth herein.
11           84.    As set forth above, the MTK agreed and conspired to violate 18
12     U.S.C. § 1962(a) (b) and (c). Specifically MTK conspired with the KOCG
13     association-in-fact enterprise to: (1) use or invest income that is derived from a
14     pattern of racketeering activity in an interstate enterprise (§ 1962(a)); (2) acquire or
15     maintain interests in the Mr. Diaz as a professional boxer through a pattern of
16     racketeering activity (§ 1962(b)); and (3) conduct and participate in the conduct of
17     the affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
18     racketeering activity (§ 1962(c)). More information concerning the nature of Mr.
19     Kinahan’s involvement in MTK and money laundering will be known after a
20     reasonable opportunity for further investigation or discovery.
21           85.    MTK has intentionally conspired and agreed to directly and indirectly
22     use or invest income that is derived from a pattern of racketeering activity in an
23     interstate enterprise, acquire or maintain interests in the enterprise through a
24     pattern of racketeering activity, and conduct and participate in the conduct of the
25     affairs of the MTK/KOCG association-in-fact enterprise through a pattern of
26     racketeering activity. MTK knew that their predicate acts were part of a pattern of
27     racketeering activity and agreed to the commission of those acts to further the
28     schemes described above. That conduct constitutes a conspiracy to violate 18


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 1     U.S.C. § 1962(a), (b) and (c), in violation of 18 U.S.C. § 1962(d). More
 2     information concerning the nature of Mr. Kinahan’s involvement in MTK and
 3     money laundering will be known after a reasonable opportunity for further
 4     investigation or discovery.
 5           86.    As direct and proximate result of the MTK’s conspiracy, the overt acts
 6     taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d),
 7     Plaintiffs have been injured in their business and property in that: Plaintiffs have an
 8     exclusive management boxer-manager contract with Mr. Diaz. The conduct of the
 9     MTK/KOCG association-in-fact enterprise directly interferes with this contractual
10     relationship. The income MTK is investing into Mr. Diaz is directly causing harm
11     to the business relationship between Plaintiffs and Mr. Diaz and has caused Mr.
12     Diaz to stop communicating with Plaintiffs resulting in several previously
13     contracted for services in the management of Mr. Diaz to spoil. Further, the
14     interference has caused harm to Plaintiff’s business reputation and goodwill and
15     interference with prospective commercial relations. Mexican American boxers also
16     have the highest draw in the boxing sport. Loss of world champion affects their
17     standing in the boxing management community and amongst boxing promotors.
18           87.    WHEREFORE, Plaintiff requests that this Court enter judgment
19     against MTK as follows: actual damages, treble damages, reasonable attorney’s
20     fees, and the costs of bringing the suit.
21                                FIFTH CAUSE OF ACTION
22             Tortious Interference with Contract – Boxer Manager Contract
23                                   (Against MTK and VGC)
24           88.    Plaintiffs incorporate by reference and realleges each and every
25     allegation contained in the paragraphs above as though fully set forth herein.
26           89.    At all relevant times, an exclusive boxer-manager contract existed
27     between Plaintiffs Mr. M. Heredia and HBM and a third party Mr. Joseph Diaz, Jr.
28


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 1     This contract was signed on February 23, 2017 before the California State Athletic
 2     Commission and lasts for five years. This contract is valid and enforceable.
 3            90.    MTK’s conduct prevented performance or made the performance of
 4     this contract more expensive or difficult. Separately, VGC’s conduct prevented
 5     performance or made the performance of this contract more expensive or difficult.
 6     Mr. Diaz does not to communicate with the Plaintiffs as MTK attempts to arrange
 7     a mandatory title bout with GBP. VGC related to GBP to contact MTK instead of
 8     Mr. Diaz’s true boxing manager—Plaintiffs. VGC and separately MTK are
 9     “strangers” to this contract and are liable in tort for their intentional interference.
10     VGC’s conduct includes engaging in a letter writing campaign demanding that Mr.
11     Diaz be released from his contract with GBP with threats of litigation, and asking
12     GBP to disregard Mr. Diaz’s valid and enforceable boxer manager contract with
13     Plaintiffs. MTK’s conduct includes directing a social media campaign where Mr.
14     Diaz proclaims he is no longer with the Plaintiffs due to them being “toxic” and
15     that the Plaintiffs were “f***ing with” his money, and arranging a title bout
16     without the involvement of Plaintiffs. These actions have caused Plaintiffs
17     additional time and expenses to include hiring counsel to assert their rights.
18     Plaintiffs cannot simply contact Mr. Diaz to arrange the next bout under the terms
19     of the agreement. Based on the lack of interaction with Mr. Diaz, Plaintiffs have
20     been required to close accounts opened for Mr. Diaz, communicate to other parties
21     the current situation, and to incur expense on the loans and accounts Mr. Diaz had
22     opened through the Plaintiffs. These actions have made it nearly impossible for the
23     Plaintiffs to fulfill their obligations under the contract between Mr. Diaz and
24     Plaintiffs.
25            91.    VGC and separately MTK intended to disrupt the performance of this
26     contract and/or knew that disruption of performance as certain or substantially
27     certain to occur. Mr. Joseph Diaz no longer communicates with the Plaintiff’s
28     concerning his boxing career. MTK claims to be a “marketing advisor” for Mr.


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 1     Diaz, however, MTK does not communicate with the Plaintiffs in anyway. MTK
 2     additionally is performing management roles under California and Federal law.
 3     MTK’s involvement has lead to Mr. Diaz not to communicating with his boxing
 4     managers even though a mandatory title bout is being worked between Mr. Diaz
 5     and GBP. VGC has over-stepped their role in representing Mr. Diaz’s legal
 6     interests when they attempt to arrange a title bout or directed GBP to work with
 7     MTK instead of Mr. Diaz’s manager. Plaintiffs note that neither MTK nor VGC
 8     are licensed or qualified as a boxing manager as required by California law. MTK
 9     wants this disruption to occur as their ultimate goal is to have Mr. Diaz become
10     one of their boxers. In order to do so, they must destroy, through whatever means
11     they have available, the valid and existing contracts between Plaintiffs and Mr.
12     Diaz and contracts between Plaintiffs and GBP.
13           92.    The Plaintiffs have been harmed by the actions of VGC and MTK.
14     Plaintiffs do not have oversight of the boxer they are managing. Plaintiffs are being
15     smeared on social media and have lost business goodwill as others see their rights
16     and contracts being trampled upon by VGC and MTK. Further, Plaintiff’s
17     relationship with other currently signed boxers has been hampered. Plaintiffs’
18     business relationship with GBP has also been negatively affected.
19           93.    VGC and MTK’s conduct were the substantial factors in causing
20     Plaintiff’s harm. But for the interference of VGC and MTK, Plaintiffs’ contract
21     with Mr. Diaz would not have been interfered with and harm would not have been
22     caused. The conduct of VGC and MTK is the substantial factor in causing
23     Plaintiff’s harm. A “stranger” to a contract is not permitted to interfere with said
24     contract.
25           //
26           //
27           //
28           //


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 1                                 SIXTH CAUSE OF ACTION
 2           Tortious Interference with Contract – Promotor-Manager Contract
 3                                    (Against MTK and VGC)
 4           94.      Plaintiffs incorporate by reference and realleges each and every
 5     allegation contained in the paragraphs above as though fully set forth herein.
 6           95.      At all relevant times, there was a boxing promotion contract between
 7     Plaintiffs, Defendant GBP, and a third party Mr. Joseph Diaz, Jr. This contract was
 8     signed on March 22, 2017 and lasts for five years. This contract is valid and
 9     enforceable.
10           96.      MTK’s conduct prevented performance or made the performance of
11     this contract more expensive or difficult. Separately, VGC’s conduct prevented
12     performance or made the performance of this contract more expensive or difficult.
13     Mr. Diaz does not to communicate with the Plaintiffs as MTK attempts to arrange
14     a mandatory title bout with GBP. VGC related to GBP to contact MTK instead of
15     Mr. Diaz’s true boxing manager—Plaintiffs. VGC and separately MTK are
16     “strangers” to this contract and are liable in tort for their intentional interference.
17     VGC’s conduct includes engaging in a letter writing campaign demanding that Mr.
18     Diaz be released from his contract with GBP with threats of litigation, and asking
19     GBP to disregard Mr. Diaz’s valid and enforceable boxer manager contract with
20     Plaintiffs. MTK’s conduct includes directing a social media campaign where Mr.
21     Diaz proclaims he is no longer with the Plaintiffs due to them being “toxic” and
22     that the Plaintiffs were “f***ing with” his money, and arranging a title bout
23     without the involvement of Plaintiffs. These actions have caused Plaintiffs
24     additional time and expenses to include hiring counsel to assert their rights.
25     Plaintiffs cannot simply contact Mr. Diaz to arrange the next bout under the terms
26     of the agreement. Based on the lack of interaction with Mr. Diaz, Plaintiffs have
27     been required to close accounts opened for Mr. Diaz, communicate to other parties
28     the current situation, and to incur expense on the loans and accounts Mr. Diaz had


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 1     opened through the Plaintiffs. These actions have made it nearly impossible for the
 2     Plaintiffs to fulfill their obligations under the contract between Mr. Diaz and
 3     Plaintiffs.
 4            97.    VGC and separately MTK intended to disrupt the performance of this
 5     contract and/or knew that disruption of performance as certain or substantially
 6     certain to occur. Mr. Joseph Diaz no longer communicates with the Plaintiff’s
 7     concerning his boxing career. MTK claims to be a “marketing advisor” for Mr.
 8     Diaz, however, MTK does not communicate with the Plaintiffs in anyway. MTK
 9     additionally is performing management roles under California and Federal law.
10     MTK’s involvement has lead to Mr. Diaz not to communicating with his boxing
11     managers even though a mandatory title bout is being worked between Mr. Diaz
12     and GBP. VGC has over-stepped their role in representing Mr. Diaz’s legal
13     interests when they attempt to arrange a title bout or directed GBP to work with
14     MTK instead of Mr. Diaz’s manager. Plaintiffs note that neither MTK nor VGC
15     are licensed or qualified as a boxing manager as required by California law. MTK
16     wants this disruption to occur as their ultimate goal is to have Mr. Diaz become
17     one of their boxers. In order to do so, they must destroy, through whatever means
18     they have available, the valid and existing contracts between Plaintiffs and Mr.
19     Diaz and contracts between Plaintiffs and GBP.
20            98.    The Plaintiffs have been harmed by the actions of VGC and MTK.
21     Plaintiffs do not have oversight of the boxer they are managing. Plaintiffs are being
22     smeared on social media and have lost business goodwill as others see their rights
23     and contracts being trampled upon by VGC and MTK. Further, Plaintiff’s
24     relationship with other currently signed boxers has been hampered. Plaintiffs’
25     business relationship with GBP has also been negatively affected.
26            99.    VGC and MTK’s conduct were the substantial factors in causing
27     Plaintiff’s harm. But for the interference of VGC and MTK, Plaintiffs’ contract
28     with Mr. Diaz would not have been interfered with and harm would not have been


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 1     caused. The conduct of VGC and MTK is the substantial factor in causing
 2     Plaintiff’s harm. A “stranger” to a contract is not permitted to interfere with said
 3     contract.
 4                              SEVENTH CAUSE OF ACTION
 5                 Inducing Breach of Contract – Boxer-Manager Contract
 6                                        (Against MTK)
 7           100. Plaintiffs incorporate by reference and realleges each and every
 8     allegation contained in the paragraphs above as though fully set forth herein.
 9           101. Defendant MTK intentionally caused Mr. Joseph Diaz, Jr. to breach
10     his boxer-manager contract with the Plaintiffs.
11           102. At all relevant times, there was a boxer-manager contract between
12     Plaintiffs Mr. Moses Heredia and Heredia Boxing Management and a third party
13     Mr. Joseph Diaz, Jr. This contract was signed on February 23, 2017 before the
14     California State Athletic Commission and lasts for five years. This contract is valid
15     and enforceable.
16           103. MTK knew that this contract existed.
17           104. MTK intended to cause Mr. Joseph Diaz, Jr. to breach the boxer-
18     manager contract with Plaintiffs by providing him with another manager contract
19     and a $100,000 advance on his next purse. MTK’s actions are purposefully
20     designed to have Mr. Diaz break his contract with Plaintiffs. The intent of MTK is
21     clear: they want to sign Mr. Diaz as a client and in order to do so must get him out
22     of his current enforceable contracts. MTK is involved only to breach the contract
23     between Plaintiffs and Mr. Diaz. In any case, MTK certainly knew that the
24     interference and inducement of Mr. Diaz would result in a breach of contract.
25           105. MTK’s conduct caused Mr. Joseph Diaz, Jr. to breach the boxer-
26     manager contract with Plaintiffs. With MTK’s encouragement Mr. Joseph Diaz no
27     longer communicates with the Plaintiffs concerning his boxing career. MTK claims
28     to be a “marketing advisor” for Mr. Diaz, however, MTK does not communicate


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 1     with the Plaintiffs in anyway. MTK does communicate with other boxing
 2     managers in similar arrangements. MTK’s direction to Mr. Diaz has caused there
 3     to be no communication with his boxing managers even though a mandatory title
 4     bout is being worked between Mr. Diaz, and GBP.
 5           106. The Plaintiffs have been harmed by the actions of MTK. Plaintiffs do
 6     not have oversight of the boxer they are managing. Plaintiffs are being smeared on
 7     social media and have lost business goodwill as others see their rights and
 8     contracts being trampled upon by MTK. Further, Plaintiff’s relationship with other
 9     currently signed boxers has been hampered. Plaintiffs’ business relationship with
10     GBP has also been negatively affected.
11           107. But for the inducement of Mr. Diaz by MTK, Mr. Diaz would not
12     have breached his contract. The conduct of MTK is the substantial factor in
13     causing Plaintiff’s harm. A person is not justified in inducing a breach of contract
14     simply because they are in competition with one of the parties to the contract and
15     seeks to further their own economic advantage at the expense of another.
16                              EIGHTH CAUSE OF ACTION
17              Intentional Interference with Prospective Economic Relations
18                                       (Against MTK)
19           108. Plaintiffs incorporate by reference and realleges each and every
20     allegation contained in the paragraphs above as though fully set forth herein.
21           109. Defendant MTK intentionally interfered with an economic
22     relationship between Plaintiffs and Mr. Joseph Diaz, Jr. that probably would have
23     resulted in an economic benefit to Plaintiffs. Namely, Plaintiffs had a contract with
24     Mr. Diaz for boxing management and due to the interference Defendants have
25     impacted the future relationship between Mr. Diaz and Plaintiffs.
26           110. MTK knew of the relationship and yet offered Mr. Diaz a $100,000
27     advance on his next bout in order to cause him to breach his contract with
28     Plaintiffs. This also has affected the prospective relationship between Mr. Diaz and


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 1     Plaintiffs. MTK did these acts without the knowledge or consent of Plaintiffs and
 2     did so with the intent of taking over as Mr. Diaz’s manager. At all relevant times,
 3     Mr. Diaz was still under contract with Plaintiffs.
 4              111. MTK engaged in specific conduct aimed at interfering with the
 5     Plaintiffs business relationship with Mr. Diaz, to wit: encouraging Mr. Diaz not to
 6     communicate with Plaintiffs, attempting to insert themselves as the managers for
 7     Mr. Diaz, and engaging in a social media smear campaign of Plaintiffs.
 8              112. By engaging in this conduct, MTK intended to disrupt the relationship
 9     or knew that disruption of the relationship was certain or substantially certain to
10     occur.
11              113. The relationship has been disrupted and Mr. Diaz no longer
12     communicates with Plaintiffs.
13              114. Plaintiffs have been harmed by this interference.
14              115. MTK’s conduct was the substantial factor in causing Plaintiffs’ harm.
15     After Mr. Diaz became a world champion, MTK reached out to Mr. Diaz and
16     offered him, upon information and belief, an advance of $100,000 on his next
17     purse in exchange for Mr. Diaz signing a “marketing advisory” agreement. This act
18     caused the deterioration of the relationship between Mr. Diaz and Plaintiffs and
19     also effected and continues to affect the prospective relationship between the
20     parties.
21                                 NINTH CAUSE OF ACTION
22          Tortious Interference with Contract – Boxer-Manager Contract Luis
23                                            Feliciano
24                                         (Against GBP)
25              116. Plaintiffs incorporate by reference and realleges each and every
26     allegation contained in the paragraphs above as though fully set forth herein.
27              117. At all relevant times, an exclusive boxer-manager contract existed
28     between Plaintiffs and a third party Mr. Luis Feliciano. This contract was signed


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 1     on March 23, 2017 before the California State Athletic Commission and lasts for
 2     five years. This contract is valid and enforceable.
 3           118. GBP’s conduct prevented performance or made the performance of
 4     this contract more expensive or difficult. GBP has made several communications
 5     to Mr. Feliciano through their employee Mr. Ernie Gabion. The communications
 6     started around August 2019. Mr. M. Heredia spoke to Mr. Gabion and stated not to
 7     contact Mr. Feliciano or any of his professional boxers directly and that any
 8     communications from GBP need to come to him, Mr. M. Heredia. In early March
 9     of 2020, Mr. M. Heredia reiterated this issue with Mr. Oscar De La Hoya, founder
10     and CEO of GBP and Eric Gomez, President of GBP. Despite being under contract
11     and despite these communications, on December 1, December 8, December 11,
12     and December 16, 2020, Mr. Gabion called and left messages for Mr. Feliciano. In
13     the December 11, 2020 message Mr. Gabion discusses talking with high-ranking/c-
14     suite GBP employees, Robert Diaz and Eric Gomez. On December 16, 2020, Mr.
15     Gabion related Mr. Feliciano’s message to Mr. Robert Diaz, that communications
16     where going through counsel, and that “I see you and Golden Boy lasting fore.. a
17     long time.” Further he provided Mr. Robert Diaz’s number to Mr. Feliciano in
18     order to get Mr. Robert Diaz’s “perspective.” These communications have caused
19     Plaintiffs additional work and caused the performance of the contract to be more
20     expensive and complicated. GBP is a “stranger” to the boxer-manager contract and
21     are liable in tort for their intentional interference. These actions have caused
22     Plaintiffs additional time and expenses to include hiring counsel to assert their
23     rights. Plaintiffs used additional time and effort to stop the interference, to console
24     their boxer and quash any negative thoughts so that Mr. Feliciano can focus on his
25     boxing career.
26           119. GBP intended to disrupt the performance of this contract and/or knew
27     that disruption of performance as certain or substantially certain to occur. GBP’s
28     communications are intended to sow doubt in Mr. Feliciano and the management


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 1     he receives from Plaintiffs. GBP wants this disruption to occur as their ultimate
 2     goal is to cause Mr. Feliciano to breach or not renew his management contract with
 3     Plaintiffs.
 4            120. The Plaintiffs have been harmed by the actions of GBP. Plaintiffs
 5     fulfill a firewall function between the promotor and the boxer which is being
 6     trampled upon. Plaintiff’s relationship with Mr. Feliciano has been hampered.
 7            121. GBP’s conduct is the substantial factors in causing Plaintiff’s harm.
 8     But for the interference of GBP, Plaintiffs’ contract with Mr. Feliciano would not
 9     have been interfered with and harm would not have been caused. The conduct of
10     GBP is the substantial factor in causing Plaintiff’s harm.
11                                   PRAYER FOR RELIEF
12     WHEREFORE, Plaintiffs pray for judgment and an award against Defendants as
13     follows:
14            1.     For compensatory damages in an amount to be determined at trial;
15            2.     For treble damages in an amount to be determined at trial;
16            3.     For pre- and post-judgment interest at the maximum rate allowed by
17     law;
18            4.     For recovery of reasonable attorneys’ fees;
19            5.     For the costs of the suit; and
20            6.     For such other and further relief as the Court deems just and proper.
21            7.     Jury trial is demanded.
22     Dated: January 18, 2021                  Respectfully submitted,
23
24                                              /s/ Rajan O. Dhungana
                                                Rajan O. Dhungana (SBN: 297794)
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